4:08-cr-03173-JMG-CRZ            Doc # 104   Filed: 08/16/10     Page 1 of 1 - Page ID # 336




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                    4:08CR3173
                                              )
            v.                                )
                                              )
JOHN S. CISNEROS,                             )       ORDER ON MOTION TO RESTRICT
                                              )
                    Defendants.               )
                                              )


     IT IS ORDERED that the Motion to Restrict, filing 102, is granted.

     Dated August 16, 2010.

                                     BY THE COURT

                                     s/ Warren K. Urbom
                                     United States Senior District Judge
